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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Criminal No. 18-10106-PBS

                               UNITED STATES OF AMERICA

                                                 v.

                                     DEMONE COLEMAN

                                  FINAL STATUS REPORT

                                       September 12, 2018
Boal, M.J.

       A final status conference was held before this Court on September 11, 2018, pursuant to

the provisions of Local Rule 116.5(c). Based on that conference, this Court enters the following

report and order:

       1.      The parties request that the case be transferred to the District Judge assigned to
               this case for an initial pretrial conference.

       2.      The parties have produced all discovery they intend to produce at this time.

       3.      There are no outstanding discovery requests or outstanding or anticipated
               discovery motions at this time.

       4.      There are no outstanding or anticipated motions under Fed. R. Crim. P. 12(b).

       5.      Based upon the orders of the court dated May 1, 2018, June 4, 2018, August 10,
               2018 and September 12, 2018, there are presently zero (0) days of non-excludable
               time under the Speedy Trial Act and seventy (70) days remaining under the
               Speedy Trial Act in which this case must be tried.

       6.      The estimated length of trial is 2-3 days.


                                                 / s / Jennifer C. Boal
                                              JENNIFER C. BOAL
                                              UNITED STATES MAGISTRATE JUDGE




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